Case 2:15-cr-00144-SMJ   ECF No. 636   filed 12/01/16   PageID.2822 Page 1 of 10


                                                                               FILED IN THE
                                                                           U.S. DISTRICT COURT
                                                                     EASTERN DISTRICT OF WASHINGTON



                                                                      Dec 01, 2016
                                                                          SEAN F. MCAVOY, CLERK




                             12/01/2016
               Case 2:15-cr-00144-SMJ                  ECF No. 636          filed 12/01/16         PageID.2823 Page 2 of 10
$2 %        5HY  -XGJPHQW LQ &ULPLQDO &DVH
              6KHHW  ² ,PSULVRQPHQW

                                                                                                         -XGJPHQW ² 3DJH   2       RI   10
'()(1'$17 DARIN M. DYKHOUSE
&$6( 180%(5 2:15CR00144-SMJ-1


                                                               IMPRISONMENT

       7KH GHIHQGDQW LV KHUHE\ FRPPLWWHG WR WKH FXVWRG\ RI WKH )HGHUDO %XUHDX RI 3ULVRQV WR EH LPSULVRQHG IRU D WRWDO
WHUP RI         42 months

 This total term of imprisonment includes a term of imprisonment of 18 months on Counts 1 and 43 and 24 months on Count 40. To be
 served consecutive to Counts 1 and 43.
 Defendant shall receive credit for time served in federal custody prior to sentencing in this matter.

     ✔ 7KH FRXUW PDNHV WKH IROORZLQJ UHFRPPHQGDWLRQV WR WKH %XUHDX RI 3ULVRQV
     G
 Defendant shall participate in the BOP Inmate Financial Responsiblity Program.
 Court recommends placement of the defendant in the BOP Facility at Milan, Michigan for placement in a 500 hour substance abuse
 treatment program.

     ✔ 7KH GHIHQGDQW LV UHPDQGHG WR WKH FXVWRG\ RI WKH 8QLWHG 6WDWHV 0DUVKDO
     G

     G 7KH GHIHQGDQW VKDOO VXUUHQGHU WR WKH 8QLWHG 6WDWHV 0DUVKDO IRU WKLV GLVWULFW
          G     DW                                    G D P     G S P         RQ                                             

          G     DV QRWLILHG E\ WKH 8QLWHG 6WDWHV 0DUVKDO

     G 7KH GHIHQGDQW VKDOO VXUUHQGHU IRU VHUYLFH RI VHQWHQFH DW WKH LQVWLWXWLRQ GHVLJQDWHG E\ WKH %XUHDX RI 3ULVRQV
          G     EHIRUH  SP RQ                                            

          G     DV QRWLILHG E\ WKH 8QLWHG 6WDWHV 0DUVKDO

          G     DV QRWLILHG E\ WKH 3UREDWLRQ RU 3UHWULDO 6HUYLFHV 2IILFH


                                                                    RETURN
, KDYH H[HFXWHG WKLV MXGJPHQW DV IROORZV




          'HIHQGDQW GHOLYHUHG RQ                                                           WR

DW                                                      ZLWK D FHUWLILHG FRS\ RI WKLV MXGJPHQW



                                                                                                      81,7(' 67$7(6 0$56+$/


                                                                            %\
                                                                                                   '(387< 81,7(' 67$7(6 0$56+$/
            Case 2:15-cr-00144-SMJ                  ECF No. 636      filed 12/01/16        PageID.2824 Page 3 of 10
$2 % 5HY    -XGJPHQW LQ D &ULPLQDO &DVH
                     6KHHW  ² 6XSHUYLVHG 5HOHDVH
                                                                                                     -XGJPHQW²3DJH     3     RI       10
'()(1'$17 DARIN M. DYKHOUSE
&$6( 180%(5 2:15CR00144-SMJ-1
                                                     SUPERVISED RELEASE
8SRQ UHOHDVH IURP LPSULVRQPHQW \RX ZLOO EH RQ VXSHUYLVHG UHOHDVH IRU D WHUP RI           5 years
This total term of Supervised Release reflects 5 years with respect to each of Counts 1, 40, and 43 to be served concurrently with each
other for a total term of Supervised Release of 5 years.


                                                    MANDATORY CONDITIONS
   <RX PXVW QRW FRPPLW DQRWKHU IHGHUDO VWDWH RU ORFDO FULPH
   <RX PXVW QRW XQODZIXOO\ SRVVHVV D FRQWUROOHG VXEVWDQFH LQFOXGLQJ PDULMXDQD ZKLFK UHPDLQV LOOHJDO XQGHU IHGHUDO ODZ
   <RX PXVW UHIUDLQ IURP DQ\ XQODZIXO XVH RI D FRQWUROOHG VXEVWDQFH <RX PXVW VXEPLW WR RQH GUXJ WHVW ZLWKLQ  GD\V RI UHOHDVH IURP
     LPSULVRQPHQW DQG DW OHDVW WZR SHULRGLF GUXJ WHVWV WKHUHDIWHU DV GHWHUPLQHG E\ WKH FRXUW
            G 7KH DERYH GUXJ WHVWLQJ FRQGLWLRQ LV VXVSHQGHG EDVHG RQ WKH FRXUW V GHWHUPLQDWLRQ WKDW \RX
               SRVH D ORZ ULVN RI IXWXUH VXEVWDQFH DEXVH (check if applicable)
    ✔
      G <RX PXVW FRRSHUDWH LQ WKH FROOHFWLRQ RI '1$ DV GLUHFWHG E\ WKH SUREDWLRQ RIILFHU (check if applicable)
    G <RX PXVW FRPSO\ ZLWK WKH UHTXLUHPHQWV RI WKH 6H[ 2IIHQGHU 5HJLVWUDWLRQ DQG 1RWLILFDWLRQ $FW  86&   et seq DV
        GLUHFWHG E\ WKH SUREDWLRQ RIILFHU WKH %XUHDX RI 3ULVRQV RU DQ\ VWDWH VH[ RIIHQGHU UHJLVWUDWLRQ DJHQF\ LQ ZKLFK \RX UHVLGH ZRUN
        DUH D VWXGHQW RU ZHUH FRQYLFWHG RI D TXDOLI\LQJ RIIHQVH (check if applicable)
    G <RX PXVW SDUWLFLSDWH LQ DQ DSSURYHG SURJUDP IRU GRPHVWLF YLROHQFH (check if applicable)

<RX PXVW FRPSO\ ZLWK WKH VWDQGDUG FRQGLWLRQV WKDW KDYH EHHQ DGRSWHG E\ WKLV FRXUW DV ZHOO DV ZLWK DQ\ RWKHU FRQGLWLRQV RQ WKH DWWDFKHG
SDJH
            Case 2:15-cr-00144-SMJ                    ECF No. 636       filed 12/01/16        PageID.2825 Page 4 of 10
$2 % 5HY     -XGJPHQW LQ D &ULPLQDO &DVH
                      6KHHW $ ² 6XSHUYLVHG 5HOHDVH
                                                                                               -XGJPHQW²3DJH        4         RI        10
'()(1'$17 DARIN M. DYKHOUSE
&$6( 180%(5 2:15CR00144-SMJ-1

                                      STANDARD CONDITIONS OF SUPERVISION
$V SDUW RI \RXU VXSHUYLVHG UHOHDVH \RX PXVW FRPSO\ ZLWK WKH IROORZLQJ VWDQGDUG FRQGLWLRQV RI VXSHUYLVLRQ 7KHVH FRQGLWLRQV DUH LPSRVHG
EHFDXVH WKH\ HVWDEOLVK WKH EDVLF H[SHFWDWLRQV IRU \RXU EHKDYLRU ZKLOH RQ VXSHUYLVLRQ DQG LGHQWLI\ WKH PLQLPXP WRROV QHHGHG E\ SUREDWLRQ
RIILFHUV WR NHHS LQIRUPHG UHSRUW WR WKH FRXUW DERXW DQG EULQJ DERXW LPSURYHPHQWV LQ \RXU FRQGXFW DQG FRQGLWLRQ

    <RX PXVW UHSRUW WR WKH SUREDWLRQ RIILFH LQ WKH IHGHUDO MXGLFLDO GLVWULFW ZKHUH \RX DUH DXWKRUL]HG WR UHVLGH ZLWKLQ  KRXUV RI \RXU
      UHOHDVH IURP LPSULVRQPHQW XQOHVV WKH SUREDWLRQ RIILFHU LQVWUXFWV \RX WR UHSRUW WR D GLIIHUHQW SUREDWLRQ RIILFH RU ZLWKLQ D GLIIHUHQW WLPH
      IUDPH
    $IWHU LQLWLDOO\ UHSRUWLQJ WR WKH SUREDWLRQ RIILFH \RX ZLOO UHFHLYH LQVWUXFWLRQV IURP WKH FRXUW RU WKH SUREDWLRQ RIILFHU DERXW KRZ DQG
      ZKHQ \RX PXVW UHSRUW WR WKH SUREDWLRQ RIILFHU DQG \RX PXVW UHSRUW WR WKH SUREDWLRQ RIILFHU DV LQVWUXFWHG
    <RX PXVW QRW NQRZLQJO\ OHDYH WKH IHGHUDO MXGLFLDO GLVWULFW ZKHUH \RX DUH DXWKRUL]HG WR UHVLGH ZLWKRXW ILUVW JHWWLQJ SHUPLVVLRQ IURP WKH
      FRXUW RU WKH SUREDWLRQ RIILFHU
    <RX PXVW EH WUXWKIXO ZKHQ UHVSRQGLQJ WR WKH TXHVWLRQV DVNHG E\ \RXU SUREDWLRQ RIILFHU
    <RX PXVW OLYH DW D SODFH DSSURYHG E\ WKH SUREDWLRQ RIILFHU ,I \RX SODQ WR FKDQJH ZKHUH \RX OLYH RU DQ\WKLQJ DERXW \RXU OLYLQJ
      DUUDQJHPHQWV VXFK DV WKH SHRSOH \RX OLYH ZLWK  \RX PXVW QRWLI\ WKH SUREDWLRQ RIILFHU DW OHDVW  GD\V EHIRUH WKH FKDQJH ,I QRWLI\LQJ
      WKH SUREDWLRQ RIILFHU LQ DGYDQFH LV QRW SRVVLEOH GXH WR XQDQWLFLSDWHG FLUFXPVWDQFHV \RX PXVW QRWLI\ WKH SUREDWLRQ RIILFHU ZLWKLQ 
      KRXUV RI EHFRPLQJ DZDUH RI D FKDQJH RU H[SHFWHG FKDQJH
    <RX PXVW DOORZ WKH SUREDWLRQ RIILFHU WR YLVLW \RX DW DQ\ WLPH DW \RXU KRPH RU HOVHZKHUH DQG \RX PXVW SHUPLW WKH SUREDWLRQ RIILFHU WR
      WDNH DQ\ LWHPV SURKLELWHG E\ WKH FRQGLWLRQV RI \RXU VXSHUYLVLRQ WKDW KH RU VKH REVHUYHV LQ SODLQ YLHZ
    <RX PXVW ZRUN IXOO WLPH DW OHDVW  KRXUV SHU ZHHN DW D ODZIXO W\SH RI HPSOR\PHQW XQOHVV WKH SUREDWLRQ RIILFHU H[FXVHV \RX IURP
      GRLQJ VR ,I \RX GR QRW KDYH IXOOWLPH HPSOR\PHQW \RX PXVW WU\ WR ILQG IXOOWLPH HPSOR\PHQW XQOHVV WKH SUREDWLRQ RIILFHU H[FXVHV
      \RX IURP GRLQJ VR ,I \RX SODQ WR FKDQJH ZKHUH \RX ZRUN RU DQ\WKLQJ DERXW \RXU ZRUN VXFK DV \RXU SRVLWLRQ RU \RXU MRE
      UHVSRQVLELOLWLHV  \RX PXVW QRWLI\ WKH SUREDWLRQ RIILFHU DW OHDVW  GD\V EHIRUH WKH FKDQJH ,I QRWLI\LQJ WKH SUREDWLRQ RIILFHU DW OHDVW 
      GD\V LQ DGYDQFH LV QRW SRVVLEOH GXH WR XQDQWLFLSDWHG FLUFXPVWDQFHV \RX PXVW QRWLI\ WKH SUREDWLRQ RIILFHU ZLWKLQ  KRXUV RI
      EHFRPLQJ DZDUH RI D FKDQJH RU H[SHFWHG FKDQJH
    <RX PXVW QRW FRPPXQLFDWH RU LQWHUDFW ZLWK VRPHRQH \RX NQRZ LV HQJDJHG LQ FULPLQDO DFWLYLW\ ,I \RX NQRZ VRPHRQH KDV EHHQ
      FRQYLFWHG RI D IHORQ\ \RX PXVW QRW NQRZLQJO\ FRPPXQLFDWH RU LQWHUDFW ZLWK WKDW SHUVRQ ZLWKRXW ILUVW JHWWLQJ WKH SHUPLVVLRQ RI WKH
      SUREDWLRQ RIILFHU
    ,I \RX DUH DUUHVWHG RU TXHVWLRQHG E\ D ODZ HQIRUFHPHQW RIILFHU \RX PXVW QRWLI\ WKH SUREDWLRQ RIILFHU ZLWKLQ  KRXUV
   <RX PXVW QRW RZQ SRVVHVV RU KDYH DFFHVV WR D ILUHDUP DPPXQLWLRQ GHVWUXFWLYH GHYLFH RU GDQJHURXV ZHDSRQ LH DQ\WKLQJ WKDW ZDV
      GHVLJQHG RU ZDV PRGLILHG IRU WKH VSHFLILF SXUSRVH RI FDXVLQJ ERGLO\ LQMXU\ RU GHDWK WR DQRWKHU SHUVRQ VXFK DV QXQFKDNXV RU WDVHUV 
   <RX PXVW QRW DFW RU PDNH DQ\ DJUHHPHQW ZLWK D ODZ HQIRUFHPHQW DJHQF\ WR DFW DV D FRQILGHQWLDO KXPDQ VRXUFH RU LQIRUPDQW ZLWKRXW
      ILUVW JHWWLQJ WKH SHUPLVVLRQ RI WKH FRXUW
   ,I WKLV MXGJPHQW LPSRVHV UHVWLWXWLRQ D ILQH RU VSHFLDO DVVHVVPHQW LW LV D FRQGLWLRQ RI VXSHUYLVHG UHOHDVH WKDW \RX SD\ LQ DFFRUGDQFH
      ZLWK WKH 6FKHGXOH RI 3D\PHQWV VKHHW RI WKLV MXGJPHQW <RX VKDOO QRWLI\ WKH SUREDWLRQ RIILFHU RI DQ\ PDWHULDO FKDQJH LQ \RXU HFRQRPLF
      FLUFXPVWDQFHV WKDW PLJKW DIIHFW \RXU DELOLW\ WR SD\ DQ\ XQSDLG DPRXQW RI UHVWLWXWLRQ ILQH RU VSHFLDO DVVHVVPHQWV
   <RX PXVW IROORZ WKH LQVWUXFWLRQV RI WKH SUREDWLRQ RIILFHU UHODWHG WR WKH FRQGLWLRQV RI VXSHUYLVLRQ



U.S. Probation Office Use Only
$ 86 SUREDWLRQ RIILFHU KDV LQVWUXFWHG PH RQ WKH FRQGLWLRQV VSHFLILHG E\ WKH FRXUW DQG KDV SURYLGHG PH ZLWK D ZULWWHQ FRS\ RI WKLV
MXGJPHQW FRQWDLQLQJ WKHVH FRQGLWLRQV )RU IXUWKHU LQIRUPDWLRQ UHJDUGLQJ WKHVH FRQGLWLRQV VHH Overview of Probation and Supervised
Release Conditions DYDLODEOH DW ZZZXVFRXUWVJRY


'HIHQGDQW V 6LJQDWXUH                                                                                    'DWH
           Case 2:15-cr-00144-SMJ                    ECF No. 636       filed 12/01/16        PageID.2826 Page 5 of 10
$2 %     5HY  -XGJPHQW LQ D &ULPLQDO &DVH
           6KHHW ' ² 6XSHUYLVHG 5HOHDVH
                                                                                                       -XGJPHQW²3DJH      5     RI       10
'()(1'$17 DARIN M. DYKHOUSE
&$6( 180%(5 2:15CR00144-SMJ-1

                                        SPECIAL CONDITIONS OF SUPERVISION
 1. You shall undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter into and
 successfully complete an approved substance abuse treatment program, which could include inpatient treatment and aftercare upon
 further order of the court. You shall contribute to the cost of treatment according to your ability to pay. You shall allow full reciprocal
 disclosure between the supervising officer and treatment provider.

 2. You shall abstain from the use of illegal controlled substances, and shall submit to urinalysis and sweat patch testing, as directed by
 the supervising officer, but no more than 6 tests per month, in order to confirm continued abstinence from these substances.

 3. You shall not enter into or remain in any establishment where alcohol is the primary item of sale. You shall abstain from alcohol and
 shall submit to urinalysis and Breathalyzer testing as directed by the supervising officer, but no more than 6 tests per month, in order to
 confirm continued abstinence from this substance.

 4. You shall not open, possess, use, or otherwise have access to any checking account, ATM card, or credit card, without the advance
 approval of the supervising officer.

 5. You shall provide the supervising officer with access to any requested financial information, including authorization to conduct
 credit checks and obtain copies of your federal income tax returns. You shall disclose all assets and liabilities to the supervising officer.
 You shall not transfer, sell, give away, or otherwise convey any asset, without the advance approval of the supervising officer.

 6. You shall not incur any new debt, open additional lines of credit, or enter into any financial contracts, without the advance approval
 of the supervising officer.

 7. You shall submit your person, residence, office, vehicle and belongings to a search, conducted by a probation officer, at a sensible
 time and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision. Failure to
 submit to search may be grounds for revocation. You shall warn persons with whom you share a residence that the premises may be
 subject to search.
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$2 % 5HY        -XGJPHQW LQ D &ULPLQDO &DVH
                         6KHHW  ² &ULPLQDO 0RQHWDU\ 3HQDOWLHV
                                                                                                               -XGJPHQW ² 3DJH       6        RI   10
'()(1'$17 DARIN M. DYKHOUSE
&$6( 180%(5 2:15CR00144-SMJ-1
                                                 CRIMINAL MONETARY PENALTIES
     7KH GHIHQGDQW PXVW SD\ WKH WRWDO FULPLQDO PRQHWDU\ SHQDOWLHV XQGHU WKH VFKHGXOH RI SD\PHQWV RQ 6KHHW 

                         Assessment                   JVTA Assessment*                   Fine                          Restitution
TOTALS               $         $300.00            $          $0.00                   $            $0.00            $
                                                                                                                                 $19,781.72


G 7KH GHWHUPLQDWLRQ RI UHVWLWXWLRQ LV GHIHUUHG XQWLO                      . $Q Amended Judgment in a Criminal Case (AO 245C) ZLOO EH HQWHUHG
     DIWHU VXFK GHWHUPLQDWLRQ

✔
G 7KH GHIHQGDQW PXVW PDNH UHVWLWXWLRQ LQFOXGLQJ FRPPXQLW\ UHVWLWXWLRQ WR WKH IROORZLQJ SD\HHV LQ WKH DPRXQW OLVWHG EHORZ
     ,I WKH GHIHQGDQW PDNHV D SDUWLDO SD\PHQW HDFK SD\HH VKDOO UHFHLYH DQ DSSUR[LPDWHO\ SURSRUWLRQHG SD\PHQW XQOHVV VSHFLILHG RWKHUZLVH LQ
     WKH SULRULW\ RUGHU RU SHUFHQWDJH SD\PHQW FROXPQ EHORZ +RZHYHU SXUVXDQW WR  86&   L  DOO QRQIHGHUDO YLFWLPV PXVW EH SDLG
     EHIRUH WKH 8QLWHG 6WDWHV LV SDLG

    Name of Payee                                                              Total Loss**               Restitution Ordered      Priority or Percentage
    Rosaurers Store #7                                                                     $781.07                      $781.07
    Susan Taylor                                                                           $578.68                      $578.68
    Wells Fargo                                                                            $685.47                      $685.47

    Spokane City Credit Union                                                             $3,600.00                    $3,600.00

    Spokane Teachers Credit Union                                                         $1,962.00                    $1,962.00
    Spokane Teachers Credit Union                                                          $600.00                      $600.00
    Spokane Teachers Credit Union                                                         $1,294.22                    $1,294.22
    Spokane Teachers Credit Union                                                          $267.64                      $267.64

    Double Eagle Pawn                                                                           $80.00                   $80.00
    U.S. Bank                                                                              $465.00                      $465.00

    U.S. Bank                                                                             $1,270.93                    $1,270.93

                                                             19,781.72                                    19,781.72
TOTALS                                  $                                        $


G     5HVWLWXWLRQ DPRXQW RUGHUHG SXUVXDQW WR SOHD DJUHHPHQW 

G     7KH GHIHQGDQW PXVW SD\ LQWHUHVW RQ UHVWLWXWLRQ DQG D ILQH RI PRUH WKDQ  XQOHVV WKH UHVWLWXWLRQ RU ILQH LV SDLG LQ IXOO EHIRUH WKH
      ILIWHHQWK GD\ DIWHU WKH GDWH RI WKH MXGJPHQW SXUVXDQW WR  86&   I  $OO RI WKH SD\PHQW RSWLRQV RQ 6KHHW  PD\ EH VXEMHFW
      WR SHQDOWLHV IRU GHOLQTXHQF\ DQG GHIDXOW SXUVXDQW WR  86&   J 

✔ 7KH FRXUW GHWHUPLQHG WKDW WKH GHIHQGDQW GRHV QRW KDYH WKH DELOLW\ WR SD\ LQWHUHVW DQG LW LV RUGHUHG WKDW
G
      ✔
      G WKH LQWHUHVW UHTXLUHPHQW LV ZDLYHG IRU WKH               G ILQH      ✔ UHVWLWXWLRQ
                                                                             G
      G WKH LQWHUHVW UHTXLUHPHQW IRU WKH              G ILQH         G   UHVWLWXWLRQ LV PRGLILHG DV IROORZV

  -XVWLFH IRU 9LFWLPV RI 7UDIILFNLQJ $FW RI  3XE / 1R 
   )LQGLQJV IRU WKH WRWDO DPRXQW RI ORVVHV DUH UHTXLUHG XQGHU &KDSWHUV $  $ DQG $ RI 7LWOH  IRU RIIHQVHV FRPPLWWHG RQ RU
DIWHU 6HSWHPEHU   EXW EHIRUH $SULO  
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$2 %     5HY  -XGJPHQW LQ D &ULPLQDO &DVH
           6KHHW % ² &ULPLQDO 0RQHWDU\ 3HQDOWLHV
                                                                                                   -XGJPHQW²3DJH      7     RI      10
'()(1'$17 DARIN M. DYKHOUSE
&$6( 180%(5 2:15CR00144-SMJ-1

                                            ADDITIONAL RESTITUTION PAYEES
                                                                                                                          Priority or
Name of Payee                                                      Total Loss*            Restitution Ordered             Percentage

  U.S. Bank                                                                 $1,350.00                $1,350.00
  U.S. Bank                                                                   $864.48                  $864.48
  U.S. Bank                                                                   $878.90                  $878.90
  John Nugent                                                               $1,200.00                $1,200.00

  Wal-Mart #2865                                                              $921.60                  $921.60
  Yaroslav Berezhnoy                                                          $448.98                  $448.98
  JPMorgan Chase Bank                                                         $450.00                  $450.00
  JPMorgan Chase Bank                                                         $420.00                  $420.00
  Pizza Rita                                                                   $48.00                    $48.00

  Yakima Federal Savings                                                      $158.62                  $158.62
  Banner Bank                                                                 $865.62                  $865.62
  Washington Trust Bank                                                       $315.28                  $315.28
  Money Tree                                                                  $275.23                  $275.23




        )LQGLQJV IRU WKH WRWDO DPRXQW RI ORVVHV DUH UHTXLUHG XQGHU &KDSWHUV $  $ DQG $ RI 7LWOH  IRU RIIHQVHV FRPPLWWHG RQ
RU DIWHU 6HSWHPEHU   EXW EHIRUH $SULO  
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                       -XGJPHQW LQ D &ULPLQDO &DVH    ECF No. 636         filed 12/01/16    PageID.2829 Page 8 of 10
            6KHHW  ² 6FKHGXOH RI 3D\PHQWV

                                                                                                      -XGJPHQW ² 3DJH    8     RI          10
'()(1'$17 DARIN M. DYKHOUSE
&$6( 180%(5 2:15CR00144-SMJ-1

                                                      SCHEDULE OF PAYMENTS

+DYLQJ DVVHVVHG WKH GHIHQGDQW¶V DELOLW\ WR SD\ SD\PHQW RI WKH WRWDO FULPLQDO PRQHWDU\ SHQDOWLHV DUH GXH DV IROORZV

A    G     /XPS VXP SD\PHQW RI                             GXH LPPHGLDWHO\ EDODQFH GXH

           G      QRW ODWHU WKDQ                                 RU
           G      LQ DFFRUGDQFH          G &        G '   G     ( RU    G ) EHORZ RU
B    ✔ 3D\PHQW WR EHJLQ LPPHGLDWHO\ PD\ EH FRPELQHG ZLWK
     G                                                                    G &    G ' RU     ✔) EHORZ  RU
                                                                                              G
C    G     3D\PHQW LQ HTXDO                    HJ ZHHNO\ PRQWKO\ TXDUWHUO\ LQVWDOOPHQWV RI                        RYHU D SHULRG RI
                        HJ PRQWKV RU \HDUV  WR FRPPHQFH                  HJ  RU  GD\V DIWHU WKH GDWH RI WKLV MXGJPHQW RU

D    G     3D\PHQW LQ HTXDO                     HJ ZHHNO\ PRQWKO\ TXDUWHUO\ LQVWDOOPHQWV RI                      RYHU D SHULRG RI
                         HJ PRQWKV RU \HDUV  WR FRPPHQFH                  HJ  RU  GD\V DIWHU UHOHDVH IURP LPSULVRQPHQW WR D
           WHUP RI VXSHUYLVLRQ RU

E    G     3D\PHQW GXULQJ WKH WHUP RI VXSHUYLVHG UHOHDVH ZLOO FRPPHQFH ZLWKLQ                  HJ  RU  GD\V DIWHU UHOHDVH IURP
           LPSULVRQPHQW 7KH FRXUW ZLOO VHW WKH SD\PHQW SODQ EDVHG RQ DQ DVVHVVPHQW RI WKH GHIHQGDQW¶V DELOLW\ WR SD\ DW WKDW WLPH RU

F    ✔ 6SHFLDO LQVWUXFWLRQV UHJDUGLQJ WKH SD\PHQW RI FULPLQDO PRQHWDU\ SHQDOWLHV
     G
     Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of incarceration, monetary
     penalties are payable on a quarterly basis of not less than $25.00 per quarter.

     While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the
     defendant's net household income, whichever is less, commencing 30 days after the defendant is released from imprisonment.


8QOHVV WKH FRXUW KDV H[SUHVVO\ RUGHUHG RWKHUZLVH LI WKLV MXGJPHQW LPSRVHV LPSULVRQPHQW SD\PHQW RI FULPLQDO PRQHWDU\ SHQDOWLHV LV GXH
GXULQJ WKH SHURLG RI LPSULVRQPHQW $OO FULPLQDO PRQHWDU\ SHQDOWLHV H[FHSW WKRVH SD\PHQWV PDGH WKURXJK WKH )HGHUDO %XUHDX RI 3ULVRQV¶
,QPDWH )LQDQFLDO 5HVSRQVLELOLW\ 3URJUDP DUH PDGH WR WKH IROORZLQJ DGGUHVV XQWLO PRQHWDU\ SHQDOWLHV DUH SDLG LQ IXOO &OHUN 86 'LVWULFW
&RXUW $WWHQWLRQ )LQDQFH 32 %R[  6SRNDQH :$ 

7KH GHIHQGDQW VKDOO UHFHLYH FUHGLW IRU DOO SD\PHQWV SUHYLRXVO\ PDGH WRZDUG DQ\ FULPLQDO PRQHWDU\ SHQDOWLHV LPSRVHG

✔ -RLQW DQG 6HYHUDO
G
     'HIHQGDQW DQG &R'HIHQGDQW 1DPHV DQG &DVH 1XPEHUV LQFOXGLQJ GHIHQGDQW QXPEHU  7RWDO $PRXQW -RLQW DQG 6HYHUDO $PRXQW
     DQG FRUUHVSRQGLQJ SD\HH LI DSSURSULDWH
          Darin Dykhouse 2:15-CR-144-SMJ-01                     $781.07           $781.07     Rosauers #7
          Melissa C. Clark 2:15-CR-144-SMJ-02                   $781.07           $781.07     Rosauers #7
          Darin Dykhouse 2:15-CR-144-SMJ-01                     $578.68           $578.68     Susan Taylor
G    7KH GHIHQGDQW VKDOO SD\ WKH FRVW RI SURVHFXWLRQ

G    7KH GHIHQGDQW VKDOO SD\ WKH IROORZLQJ FRXUW FRVW V 

G    7KH GHIHQGDQW VKDOO IRUIHLW WKH GHIHQGDQW¶V LQWHUHVW LQ WKH IROORZLQJ SURSHUW\ WR WKH 8QLWHG 6WDWHV




3D\PHQWV VKDOO EH DSSOLHG LQ WKH IROORZLQJ RUGHU  DVVHVVPHQW  UHVWLWXWLRQ SULQFLSDO  UHVWLWXWLRQ LQWHUHVW  ILQH SULQFLSDO
  ILQH LQWHUHVW  FRPPXQLW\ UHVWLWXWLRQ  -97$ DVVHVVPHQW  SHQDOWLHV DQG  FRVWV LQFOXGLQJ FRVW RI SURVHFXWLRQ DQG
FRXUW FRVWV
          Case 2:15-cr-00144-SMJ                    ECF No. 636       filed 12/01/16       PageID.2830 Page 9 of 10
$2 %    5HY  -XGJPHQW LQ D &ULPLQDO &DVH
          6KHHW $ ² 6FKHGXOH RI 3D\PHQWV
                                                                                                  -XGJPHQW²3DJH     9             10
                                                                                                                         RI
'()(1'$17 DARIN M. DYKHOUSE
&$6( 180%(5 2:15CR00144-SMJ-1

      ADDITIONAL DEFENDANTS AND CO-DEFENDANTS HELD JOINT AND SEVERAL
Case Number
Defendant and Co-Defendant Names                                       Joint and Several                   Corresponding Payee,
(including defendant number)                         Total Amount           Amount                            If appropriate
 Melissa C. Clark 2:15-CR-144-SMJ-02                       $578.68              $578.68     Susan Taylor
 Daniel T. Kolle 2:15-CR-144-SMJ-03                         $578.68             $578.68      Susan Taylor
 Darin Dykhouse 2:15-CR-144-SMJ-01                          $685.47             $685.47      Wells Fargo
 Melissa C. Clark 2:15-CR-144-SMJ-02                        $685.47             $685.47     Wells Fargo
 Daniel T. Kolle 2:15-CR-144-SMJ-03                         $685.47             $685.47      Wells Fargo
 Darin Dykhouse 2:15-CR-144-SMJ-01                        $3,600.00           $3,600.00      Spokane City Credit Union
 Melissa C. Clark 2:15-CR-144-SMJ-02                      $3,600.00           $3,600.00     Spokane City Credit Union
 Dustin W. Rhodes 2:15-CR-144-SMJ-12                      $2,400.00           $2,400.00      Spokane City Credit Union
 Camille R. Millar 2:15-CR-144-SMJ-08                     $3,600.00           $3,600.00     Spokane City Credit Union
 Darin Dykhouse 2:15-CR-144-SMJ-01                        $1,962.00           $1,962.00      Spokane Teachers Credit Union
 Melissa C. Clark 2:15-CR-144-SMJ-02                      $1,962.00           $1,962.00      Spokane Teachers Credit Union
 Joshua M. Terpstra 2:15-CR-144-SMJ-06                    $1,962.00           $1,962.00      Spokane Teachers Credit Union
 Darin Dykhouse 2:15-CR-144-SMJ-01                          $600.00             $600.00     Spokane Teachers Credit Union
 Melissa C. Clark 2:15-CR-144-SMJ-02                        $600.00             $600.00      Spokane Teachers Credit Union
 Joshua M. Terpstra 2:15-CR-144-SMJ-06                      $600.00             $600.00      Spokane Teachers Credit Union
 Darin Dykhouse 2:15-CR-144-SMJ-01                        $1,294.22           $1,294.22      Spokane Teachers Credit Union
 Melissa C. Clark 2:15-CR-144-SMJ-02                      $1,294.22           $1,294.22     Spokane Teachers Credit Union
 Darin Dykhouse 2:15-CR-144-SMJ-01                          $267.64             $267.64      Spokane Teachers Credit Union
 Melissa C. Clark 2:15-CR-144-SMJ-02                        $267.64             $267.64     Spokane Teachers Credit Union
 Jacqueline Mickey 2:15-CR-144-SMJ-07                        $85.26              $85.26     Spokane Teachers Credit Union
 Darin Dykhouse 2:15-CR-144-SMJ-01                           $80.00              $80.00      Double Eagle Pawn
 Melissa C. Clark 2:15-CR-144-SMJ-02                         $80.00              $80.00     Double Eagle Pawn
 Darin Dykhouse 2:15-CR-144-SMJ-01                          $465.00             $465.00      U.S. Bank
 Melissa C. Clark 2:15-CR-144-SMJ-02                        $465.00             $465.00      U.S. Bank
 Darin Dykhouse 2:15-CR-144-SMJ-01                        $1,270.93           $1,270.93      U.S. Bank
 Melissa C. Clark 2:15-CR-144-SMJ-02                      $1,270.93           $1,270.93      U.S. Bank
 Hunter H. Haley 2:15-CR-144-SMJ-04                       $1,270.93           $1,270.93      U.S. Bank
 Darin Dykhouse 2:15-CR-144-SMJ-01                        $1,350.00           $1,350.00     U.S. Bank
 Melissa C. Clark 2:15-CR-144-SMJ-02                      $1,350.00           $1,350.00      U.S. Bank
 Hunter H. Haley 2:15-CR-144-SMJ-04                       $1,350.00           $1,350.00      U.S. Bank
 Tasean Witherwax 2:15-CR-144-SMJ-09                      $1,350.00           $1,350.00      U.S. Bank
 Darin Dykhouse 2:15-CR-144-SMJ-01                          $864.48             $864.48     U.S. Bank
 Melissa C. Clark 2:15-CR-144-SMJ-02                        $864.48             $864.48      U.S. Bank
          Case 2:15-cr-00144-SMJ                     ECF No. 636        filed 12/01/16    PageID.2831 Page 10 of 10
AO 245B   (Rev. 06/05) Judgment in a Criminal Case
          Sheet 6A — Schedule of Payments
                                                                                                    Judgment—Page     10   of      10
DEFENDANT: DARIN M. DYKHOUSE
CASE NUMBER: 2:15CR00144-SMJ-1

      ADDITIONAL DEFENDANTS AND CO-DEFENDANTS HELD JOINT AND SEVERAL
Case Number
Defendant and Co-Defendant Names                                          Joint and Several                 Corresponding Payee,
(including defendant number)                           Total Amount            Amount                          If appropriate
 Darin Dykhouse 2:15-CR-144-SMJ-01                           $878.90               $878.90    U.S. Bank
 Melissa C. Clark 2:15-CR-144-SMJ-02                          $878.90              $878.90    U.S. Bank
 Tasean Witherwax 2:15-CR-144-SMJ-09                          $878.90              $878.90    U.S. Bank
 Darin Dykhouse 2:15-CR-144-SMJ-01                          $1,200.00            $1,200.00    John Nugent
 Melissa C. Clark 2:15-CR-144-SMJ-02                        $1,200.00            $1,200.00    John Nugent
 Nichole Gourneau 2:15-CR-0144-SMJ-15                       $1,200.00            $1,200.00    John Nugent
 Darin Dykhouse 2:15-CR-144-SMJ-01                            $921.60              $921.60    Wal-Mart
 Melissa C. Clark 2:15-CR-144-SMJ-02                          $921.60              $921.60    Wal-Mart
 Darin Dykhouse 2:15-CR-144-SMJ-01                            $448.98              $448.98    Yaroslav Berezhnoy
 Melissa C. Clark 2:15-CR-144-SMJ-02                          $448.98              $448.98    Yaroslav Berezhnoy
 Darin Dykhouse 2:15-CR-144-SMJ-01                            $450.00              $450.00    JPMorgan Chase Bank
 Melissa C. Clark 2:15-CR-144-SMJ-02                          $450.00              $450.00    JPMorgan Chase Bank
 Jason D. Beckham 2:15-CR-144-SMJ-13                          $450.00              $450.00    JPMorgan Chase Bank
 Hunter H. Haley 2:15-CR-144-SMJ-04                           $450.00              $450.00    JPMorgan Chase Bank
 Darin Dykhouse 2:15-CR-144-SMJ-01                            $420.00              $420.00    JPMorgan Chase Bank
 Melissa C. Clark 2:15-CR-144-SMJ-02                          $420.00              $420.00    JPMorgan Chase Bank
 Hunter H. Haley 2:15-CR-144-SMJ-04                           $420.00              $420.00    JPMorgan Chase Bank
 Roger M. Roberts 2:15-CR-144-SMJ-14                          $420.00              $420.00    JPMorgan Chase Bank
 Darin Dykhouse 2:15-CR-144-SMJ-01                             $48.00               $48.00    Pizza Rita
 Melissa C. Clark 2:15-CR-144-SMJ-02                           $48.00               $48.00    Pizza Rita
 Sean Roullier 2:15-CR-144-SMJ-11                              $48.00               $48.00    Pizza Rita
 Darin Dykhouse 2:15-CR-144-SMJ-01                           $158.62               $158.62    Yakima Federal Savings
 Melissa C. Clark 2:15-CR-144-SMJ-02                          $158.62              $158.62    Yakima Federal Savings
 Sean Roullier 2:15-CR-144-SMJ-11                             $158.62              $158.62    Yakima Federal Savings
 Darin Dykhouse 2:15-CR-144-SMJ-01                            $865.62              $865.62    Banner Bank
 Melissa C. Clark 2:15-CR-144-SMJ-02                          $865.62              $865.62    Banner Bank
 Joshua J. Johnson 2:15-CR-SMJ-05                             $865.62              $865.62    Banner Bank
 Darin Dykhouse 2:15-CR-144-SMJ-01                            $315.28              $315.28    Washington Trust Bank
 Melissa C. Clark 2:15-CR-144-SMJ-02                          $315.28              $315.28    Washington Trust Bank
 Darin Dykhouse 2:15-CR-144-SMJ-01                            $275.23              $275.23    Money Tree
 Melissa C. Clark 2:15-CR-144-SMJ-02                          $275.23              $275.23    Money Tree
